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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION


UNITED STATES OF AMERICA


VERSUS                                                     CRIMINAL ACTION NO. 1:07CR47


TOMMY RAY CREEKMORE


                                             ORDER

       This cause is before the Court on defendant Creekmore’s Motion for Continuance [45]. The

Court, having reviewed the motion and being otherwise fully advised in the premises, finds as

follows, to-wit:

       The trial of this matter is currently set for June 25, 2007. Counsel for defendant Creekmore

seeks a continuance in order to complete a thorough review of the discovery provided by the

government and to engage in necessary trial preparation. The government does not object to the

requested continuance. Based on the foregoing, the Court finds that the defendant’s motion is well-

taken and should be granted.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. § 3161(h)(8)(A),

the period of delay from June 25, 2006 until the new trial date to be set in this matter. The time is

excludable under subsection (h)(8)(A) because, given the circumstances described above, a

continuance is necessary to afford defendant additional time to investigate and prepare a defenses

to the pending charges. Therefore, the ends of justice served by the granting of this continuance

outweigh the best interests of the public and the defendants in a speedy trial.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that
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 1.    The Motion for Continuance [45] is GRANTED;

 2.    That the trial of this matter is continued as to all defendants until Monday, August

       20, 2007 at 9:00 a.m. in the United States District Courthouse in Greenville,

       Mississippi;

 3.    That the delay from June 25, 2007 until August 20, 2007 is excluded as set out

       above;

 4.    That the deadline for filing pretrial motions is July 30, 2007;

 5.    That the deadline for submitting a plea agreement is August 6, 2007.

 SO ORDERED, this the 29th day of May, 2007.


                                              /s/ W. Allen Pepper, Jr.
                                              W. ALLEN PEPPER, JR.
                                              UNITED STATES DISTRICT JUDGE
